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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.    24-cr-00212-DDD

UNITED STATES OF AMERICA,

      Plaintiff,
v.

1.    JOSHUA LYBOLT, and
2.    MAGDALENA LYBOLT,

      Defendants.



                                     INDICTMENT



      The Grand Jury charges that:

                                  COUNTS 1-5
            Wire Fraud and Aiding and Abetting, 18 U.S.C. §§ 1343, 2(a)

Background on the CARES Act Programs

      1.      The United States Small Business Administration (“SBA”) is an executive-

branch agency of the United States government that provides support to entrepreneurs

and small businesses.

      2.      In or around March 2020, the Coronavirus Aid, Relief, and Economic

Security (“CARES”) Act was enacted to provide emergency financial assistance to the

millions of Americans suffering adverse economic effects caused by the COVID-19

pandemic. The CARES Act established several new temporary programs and expanded

existing programs, including programs created or administered by the SBA. Two

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sources of funding for small businesses were the Paycheck Protection Program (“PPP”)

and the Economic Injury Disaster Loans (“EIDL”) program. The CARES Act mandated

that only businesses in operation on February 15, 2020, for PPP, or before February 1,

2020, for EIDL, were eligible under the programs.

       3.      The EIDL program was an SBA program that provided low-interest

financing to small businesses in regions affected by declared disasters. The CARES Act

authorized the SBA to provide EIDLs to eligible small businesses experiencing

substantial financial disruptions due to the COVID-19 pandemic. In addition, the CARES

Act authorized the SBA to issue advances of up to $10,000 to small businesses, known

as Economic Injury Disaster Grants (“EIDG”). The amount of the EIDG was determined

by the number of employees the applicant certified having. The EIDGs did not need to

be repaid.

       4.      Until April 2021, under the EIDL program, a small business could receive

a loan from the SBA in an amount of up to six months of working capital with a

maximum of $150,000. In April 2021, the SBA increased the EIDL limit to allow small

businesses to receive loans in the amount of up to 24 months of working capital with a

maximum of $500,000. Thereafter, in September 2021, the SBA increased the EIDL

limit to $2 million.

       5.      In order to obtain an EIDL and/or EIDG, a qualifying business was

required to submit an application to the SBA and provide information about its

operations, such as the number of employees and the entity’s gross business revenues

and cost of goods sold in the twelve months prior to January 31, 2020. The amount of


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the loan, if approved, was determined in part based on the information provided

concerning the gross revenue and cost of goods sold. For loans greater than $25,000,

the SBA withheld a $100 fee from the total EIDL amount for filing a UCC-1 lien on the

borrower’s business assets. EIDL funds were issued directly by the SBA and were

permitted to be used for payroll expenses, sick leave, production costs, and business

obligations, such as debts, rents, and mortgage payments. Before the SBA disbursed

EIDL funds, an applicant generally had to digitally sign a contract, referred to as a Loan

Authorization and Agreement.

       6.     The CARES Act further authorized the PPP program, which provided

forgivable loans to small businesses. To obtain a PPP loan, a qualifying small business

was required to submit a PPP loan application, signed by an authorized representative

of the business, in which the applicant acknowledged the program rules and made

certain affirmative certifications. The applicant was also required to state the business’s:

(a) average monthly payroll expenses; and (b) number of employees. These figures

were used to calculate the loan amount that the business was eligible to receive under

the PPP. Businesses were also required to provide documentation showing their payroll

expenses, such as filed federal income tax documents.

       7.     PPP loan applications were received and processed, in the first instance,

by a participating lender. If a PPP loan application was approved, the participating

lender funded the loan using its own monies, but the loans were guaranteed by the

SBA. Data from the application, including information about the borrower, the total

amount of the loan, and the listed number of employees, was transmitted by the lender


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to the SBA in the course of processing the loan. The SBA paid participating lenders a

processing fee for each funded PPP loan.

         8.    The proceeds of a PPP loan could be used for certain specified items,

such as payroll costs, mortgage interest payments, and utilities. The proceeds of a PPP

loan were not permitted to be used by the borrowers to purchase consumer goods,

automobiles, real estate, or to fund the borrower’s ordinary day-to-day living expenses

unrelated to the specified authorized expenses.

         9.    Small businesses could request forgiveness of up to the full amount of the

PPP loan by filing a forgiveness application with the same lender. The forgiveness

application required the business to certify, among other things, that the loan was used

for eligible payroll and other business costs, and that the business had verified the

eligible payroll and nonpayroll costs for which the business requested forgiveness. The

business also was required to submit documentation to the lender verifying payroll

costs.

         10.   At all times relevant to the Indictment:

Lenders

         11.   Bank 1 was a financial institution based in the Commonwealth of

Pennsylvania. Bank 1 was an approved SBA lender of PPP loans.

Individuals and Entities

         12.   JOSHUA LYBOLT was a resident of the State and District of Colorado.

         13.   JOSHUA LYBOLT represented himself to be an owner or co-owner of the

following businesses: A Prime Real Estate Corporation, LLC (“Prime Real Estate”);


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Broker Life, LLC (“Broker Life”); Lifstyl Real Estate, LLC (“Lifstyl Real Estate”); and

JMXE Capital, LLC (“JMXE Capital”).

        14.    MAGDALENA LYBOLT was a resident of the State and District of Colorado

and married to JOSHUA LYBOLT.

        15.    MAGDALENA LYBOLT represented herself to be a co-owner of the

following businesses: Prime Real Estate; Broker Life; Lifstyl Real Estate; and JMXE

Capital.

The Scheme

        16.    Beginning in or around April 2020, and continuing through at least in or

around August 2022, within the State and District of Colorado and elsewhere,

defendants JOSHUA LYBOLT and MAGDALENA LYBOLT devised, intended to devise,

and participated in a scheme and artifice to defraud and to obtain money and property

from the United States and Bank 1, and aided and abetted the same, by means of

materially false and fraudulent pretenses, representations, and promises (hereinafter

referred to as the “Scheme”). The Scheme was executed in connection with seeking

loans under the EIDL and PPP loan programs as authorized by the CARES Act by

submitting false and fraudulent applications for EIDLs, EIDGs, EIDL modifications, and

a PPP loan on behalf of companies that were already closed prior to the COVID-19

Pandemic, according to sworn representations made by JOSHUA LYBOLT and

MAGDALENA LYBOLT in prior bankruptcy proceedings.




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Manner and Means of the Scheme
       It was part of the Scheme that:

       EIDL Scheme

       17.    From in or around April 2020, and continuing through at least in or around

August 2022, JOSHUA LYBOLT prepared and submitted fraudulent EIDL applications

to the SBA on behalf of business entities that he and MAGDALENA LYBOLT owned.

       18.    In these fraudulent EIDL applications, JOSHUA LYBOLT made materially

false statements regarding the number of employees, gross revenues, and cost of

goods sold purportedly relating to these business entities. He also falsely certified that

the business entities suffered losses as a result of the COVID-19 pandemic.

       19.    In fact, none of the business entities listed in the EIDL applications were in

operation as of January 31, 2020 as required to receive relief funds, as confirmed by

JOSHUA LYBOLT and MAGDALENA LYBOLT in bankruptcy proceedings that occurred

in 2020. Specifically:

              a. On or about January 20, 2020, JOSHUA LYBOLT and MAGDALENA

                  LYBOLT filed for Chapter 7 Bankruptcy.

              b. On or about March 3, 2020, JOSHUA LYBOLT and MAGDALENA

                  LYBOLT told a U.S. Bankruptcy Trustee, under oath, that all of the

                  businesses included in their bankruptcy filing were closed and no

                  longer operational. Among these closed businesses were Broker Life,

                  JMXE Capital, Lifstyl Real Estate, A Prime Real Estate Corporation,

                  and Commissions Fast.


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              c. On or about April 27, 2020, a U.S. Bankruptcy Judge entered an Order

                    of Discharge granting JOSHUA LYBOLT and MAGDALENA LYBOLT’s

                    bankruptcy petition and discharging more than $4,655,000 in claims.

       20.    From in or around April 2020, and continuing until at least in or around

August 2022, JOSHUA LYBOLT submitted six fraudulent EIDL applications to the SBA

on behalf of the following business entities: Prime Real Estate, Broker Life, Lifstyl Real

Estate, JMXE Capital, and Commissions Fast.

       21.    In these fraudulent EIDL applications, JOSHUA LYBOLT made materially

false statements regarding, inter alia, the entities’ gross revenues and cost of goods

sold. JOSHUA LYBOLT further falsely certified that the information provided in the EIDL

applications was true and accurate. JOSHUA LYBOLT also falsely certified that the

funds would be used solely as working capital to alleviate economic injury caused by

the COVID0-19 pandemic and only to pay permissible business expenses when, in fact,

JOSHUA LYBOLT and MAGDALENA LYBOLT used the bulk of the proceeds for their

personal benefit.

       22.    JOSHUA LYBOLT and MAGDALENA LYBOLT also submitted false and

fraudulent documentation in support of the applications for EIDLs, EIDGs, and EIDL

modifications. Specifically, in support of the EIDL modification requests for Lifstyl Real

Estate, JOSHUA LYBOLT and MAGDALENA LYBOLT signed an Amended Loan

Authorization and Agreement certifying that “All representations in the Borrower’s Loan

application (including all supplementary submissions)” were “true, correct and complete”

and “offered to induce SBA to make” the loan to Lifstyl Real Estate. JOSHUA LYBOLT


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and MAGDALENA LYBOLT also certified that Lifstyl Real Estate would not distribute

the business entity’s assets to any owner, partner, employee, or other company.

Furthermore, by signing the Amended Loan Authorization, JOSHUA LYBOLT and

MAGDALENA LYBOLT falsely certified that Lifstyl Real Estate would “use all the

proceeds” of the loan “solely as working capital to alleviate economic injury caused by”

the COVID-19 pandemic.

      23.    As a result of the EIDL Scheme, the SBA approved and funded four EIDL

applications, two EIDGs, and six EIDL modification requests, for a total of $4,950,000 in

EIDLs and modifications and $3,000 in EIDGs. These funds, less $400 in UCC-filing

fees, were disbursed as follows:

             a. Prime Real Estate: $1,999,900 in EIDL funds, including one EIDL

                 modification, deposited into a bank account controlled by JOSHUA

                 LYBOLT.

             b. Broker Life: $450,900 in EIDL and EIDG funds, including one EIDL

                 modification, deposited into a bank account controlled by JOSHUA

                 LYBOLT.

             c. JMXE Capital: $499,900 in EIDL funds, including one EIDL

                 modification, deposited into a bank account controlled by JOSHUA

                 LYBOLT.

             d. Lifstyl Real Estate: $2,001,900 in EIDL and EIDG funds, including

                 three EIDL modifications, deposited into a bank account controlled by

                 JOSHUA LYBOLT.


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       24.    In addition to the EIDLs and EIDGs that were funded by the SBA,

JOSHUA LYBOLT submitted additional fraudulent EIDL applications and EIDL

modification requests that were declined or rejected prior to funding.

       PPP Scheme

       25.    From in or around February 2021, and continuing through at least in or

around March 2021, JOSHUA LYBOLT submitted and caused to be submitted a

fraudulent PPP Borrower Application Form and supporting documents to Bank 1 on behalf

of Broker Life. In the fraudulent PPP Borrower Application Form, JOSHUA LYBOLT made

materially false statements. Specifically:

              a. JOSHUA LYBOLT falsely answered “No,” when asked on the form

                 whether the Broker Life, its owners, or any business owned or controlled

                 by the owners, had ever obtained a direct or guaranteed loan from the

                 SBA that was either delinquent or had defaulted in the last 7 years,

                 causing a loss to the government. In fact, in or around June 2019,

                 JOSHUA LYBOLT, as an owner of Prime Real Estate, failed to make

                 required payments on at least two loans that were guaranteed by the

                 SBA and those loans thereafter went into default.

              b. JOSHUA LYBOLT also falsely certified that Broker Life was in operation

                 on February 15, 2020 and had not permanently closed. In truth, Broker

                 Life stopped operating on or about December 31, 2018, according to the

                 voluntary petition for bankruptcy filed by JOSHUA LYBOLT and

                 MAGDALENA LYBOLT. Furthermore, on March 3, 2020, JOSHUA


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                  LYBOLT and MAGDALENA LYBOLT told the U.S. Bankruptcy Trustee,

                  under oath, that all of the businesses included in their bankruptcy filing

                  documentation, including Broker Life, were closed and no longer

                  operating.

              c. JOSHUA LYBOLT further falsely certified that the information provided

                  in the PPP Borrower Application Form and the information provided in

                  all supporting documents and forms was true and accurate in all material

                  respects.

       26.    On or about March 3, 2021, Bank 1 funded the PPP loan for Broker Life in

 the amount of $41,667.

       27.    On or about August 18, 2021, JOSHUA LYBOLT submitted an application

 to the SBA seeking forgiveness of the full $41,667 PPP loan, which the SBA granted.

       28.    JOSHUA LYBOLT routinely transferred EIDL and PPP funds derived from

 the Scheme between bank accounts controlled by JOSHUA LYBOLT and between bank

 accounts controlled by JOSHUA LYBOLT and MAGDALENA LYBOLT. JOSHUA and

 MAGDALENA LYBOLT utilized EIDL and PPP funds to purchase goods and property,

 including vehicles, real estate, vacations, and country club memberships.

 Execution of the Scheme

       29.    On or about the dates set forth below, in the State and District of

 Colorado, and elsewhere, defendants JOSHUA LYBOLT and MAGDALENA LYBOLT

 caused to be transmitted by means of wire communication in interstate commerce

 certain writings, signs, signals, pictures, and sounds, and aided and abetted the same,


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 as set forth below:

   Count      Defendant             Date                      Description of Wire

                                                     Payment file for EIDL of $114,400 from
                                                     SBA finance center in Colorado to U.S.
               JOSHUA                                Treasury disbursing office outside of
     1                          June 12, 2020
               LYBOLT                                Colorado caused by JOSHUA
                                                     LYBOLT’s submission of Broker Life’s
                                                     EIDL application.

                                                     Payment file for EIDL of $124,500 from
                                                     SBA finance center in Colorado to U.S.
               JOSHUA                                Treasury disbursing office outside of
     2                          July 29, 2020
               LYBOLT                                Colorado caused by JOSHUA
                                                     LYBOLT’s submission of JMXE
                                                     Capital’s EIDL application.

                                                     Broker Life PPP Borrower Application
               JOSHUA                                Form electronically submitted in
     3                          March 1, 2021
               LYBOLT                                Colorado and routed interstate to Bank
                                                     1 outside of Colorado.

                                                     Payment file for EIDL of $499,900 from
                                                     SBA finance center in Colorado to U.S.
               JOSHUA           December 21,         Treasury disbursing office outside of
     4
               LYBOLT              2021              Colorado caused by JOSHUA
                                                     LYBOLT’s submission of Prime Real
                                                     Estate’s EIDL application.

                                                     Payment file for EIDL of $1,290,000
               JOSHUA                                from SBA finance center in Colorado to
               LYBOLT                                U.S. Treasury disbursing office outside
     5                          April 6, 2022        of Colorado caused by JOSHUA
                                                     LYBOLT and MAGDALENA LYBOLT’s
             MAGDALENA
                                                     submission of Lifstyl Real Estate’s 3rd
               LYBOLT
                                                     Modification of Note.


         All in violation of Title 18, United States Code, Sections 1343 and 2(a).

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                                     COUNTS 6-13
                            MONEY LAUNDERING, 18 U.S.C. § 1957

         30.     The allegations in paragraphs 1 through 28 are re-alleged and

 incorporated as if fully set forth herein.

         31.     On or about the dates set forth below, in the State and District of

 Colorado, and elsewhere, JOSHUA LYBOLT, knowingly engaged in and attempted to

 engage in monetary transactions, specifically, deposits, withdrawals and movements

 and transfers of funds and monetary instruments, in and affecting interstate commerce,

 to entities listed below, in criminally derived property of a value greater than $10,000

 that was derived from specified unlawful activity, specifically, wire fraud in violation of

 Title 18, United States Code, Section 1343, knowing that the property involved in such

 monetary transactions represented the proceeds of some form of unlawful activity, as

 follows:

 Count               Date            Financial Transaction
                                     Payment of $47,553 by cashier’s check number
                                     XXXXXX3367 drawn from Bank of America account
                                     xxxxxx3503 in the name of Broker Life and paid to
   6             June 24, 2020
                                     the order of Walser Automotive Group for the
                                     purchase of a 2016 Land Rover Range Rover MP
                                     vehicle.
                                     Wire transfer of $95,170.35 from Bank of America
                                     account xxxxxx6183 in the name of JMXE Capital to
   7           January 27, 2021
                                     T.D. Ameritrade account xxxxxx9375 in the name of
                                     Magdalena Wosiak.
                                     Payment of $25,000 by check drawn from Bank of
                                     America account xxxxxx0720 in the name of Broker
   8           September 2, 2021
                                     Life and paid to the order of the Country Club at
                                     Castle Pines.



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                                   Wire transfer of $902,803.84 from Bank of America
                                   account xxxxxx6718 in the name of Prime JMXE,
                                   LLC to Land Title Guarantee Company as payment
   9          March 3, 2022
                                   for a real estate property located at 35 Lower
                                   Woodbridge Rd. # P157, Snowmass Village, CO
                                   81615.
                                   Payment of $30,000 by the Visa card ending 8565
   10         March 29, 2022       drawn from Bank of America account xxxxxx6718 in
                                   the name of Prime JMXE and paid to Inspirato LLC.
                                   Wire transfer of $530,397.50 from Bank of America
                                   account xxxxxx7469 in the name of Lifstyl Real
   11          May 27, 2022        Estate to the Title Company of the Rockies for the
                                   purchase of the property located at 1061 W. Beaver
                                   Creek Blvd., #N202, Avon, CO 81620.
                                   Wire transfer of $22,258.50 from Bank of America
                                   account xxxxxx4710 in the names JOSHUA
   12          May 31, 2022
                                   LYBOLT and MAGDALENA LYBOLT to the Heritage
                                   Vintage Sports Auctions.
                                   Payment of $58,000 by cashier’s check number
                                   xxxxxx7338 drawn from Bank of America account
                                   xxxxxx4710 in the names of JOSHUA LYBOLT and
   13         August 17, 2022
                                   MAGDALENA LYBOLT and paid to the order of
                                   Porsche Littleton for the purchase of a 2022 Porsche
                                   Taycan vehicle.

        All in violation of Title 18, United States Code, Section 1957.

                                  Forfeiture Allegation

        32.    The allegations contained in Counts 1 through 13 of this Indictment are

 hereby realleged and incorporated by reference for the purpose of alleging forfeiture

 pursuant to the provisions of Title 18, United States Code, Sections 981(a)(1)(C),

 982(a)(1) and (a)(2), and Title 28, United States Code, Section 2461(c).

        33.    Upon conviction of the violations alleged in Counts 1 through 5 of this

 Indictment involving the commission of violations of Title 18, United States Code,

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 Section 1343, defendant JOSHUA LYBOLT, shall forfeit to the United States, pursuant

 to Title 18, United States Code, Sections 981(a)(1)(C), 982(a)(2), and Title 28, United

 States Code, Section 2461(c) any and all of the defendant‘s right, title and interest in all

 property constituting and derived from any proceeds the defendant obtained directly and

 indirectly as a result of such offense, including, but not limited to: a money judgment in

 the amount of proceeds obtained by the defendant.

        34.    Upon conviction of the violations alleged in Count 5 of this Indictment

 involving the commission of violations of Title 18, United States Code, Section 1343,

 defendant MAGDALENA LYBOLT, shall forfeit to the United States, pursuant to Title 18,

 United States Code, Sections 981(a)(1)(C), 982(a)(2), and Title 28, United States Code,

 Section 2461(c) any and all of the defendant‘s right, title and interest in all property

 constituting and derived from any proceeds the defendant obtained directly and

 indirectly as a result of such offense, including, but not limited to: a money judgment in

 the amount of proceeds obtained by the defendant.

        35.    Upon conviction of the violations alleged in Counts 6 through 13 of this

 Indictment involving the commission of violations of Title 18, United States Code,

 Section 1957, defendant JOSHUA LYBOLT, shall forfeit to the United States, pursuant

 to Title 18, United States Code, Sections 982(a)(1), any and all rights, title, and interest

 in all property involved in such offense or offenses, or property traceable to such

 property, including, but not limited to: a money judgment in the amount of proceeds

 obtained by the defendant.




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        36.    If any of the property described above, as a result of any act or omission

 of the defendant:

               a)     cannot be located upon the exercise of due diligence;
               b)     has been transferred or sold to, or deposited with, a third
                      party;
               c)     has been placed beyond the jurisdiction of the Court;
               d)     has been substantially diminished in value; or
               e)     has been commingled with other property which
                      cannot be subdivided without difficulty;

 it is the intent of the United States, pursuant to Title 21, United States Code, Section

 853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

 forfeiture of any other property of JOSHUA LYBOLT and MAGDALENA LYBOLT up to

 the value of the forfeitable property.

                                                  A True Bill:

                                                  Ink Signature on File in the Clerk’s Office
                                                  Foreperson
 MATTHEW T. KIRSCH
 Acting United States Attorney


By: s/ Theodore O’Brien
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